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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN AND JANE DOE, in their own right           :
and as parents and natural guardians of L. Doe, :
a minor,                                        :                 CIVIL ACTION
                                                :
and                                             :                 No. 15-901
                                                :
WILLIAM AND MARY ROE,                           :
in their own right and as parents and           :
natural guardians of A. Roe, a minor,           :
                            Plaintiffs,         :
                                                :
                     v.                         :
                                                :
SOUTHEAST DELCO SCHOOL DISTRICT, :
STEPHEN D. BUTZ, Superintendent,                :
JEFFREY RYAN, Assistant Superintendent,         :
MICHAEL A. P. JORDAN, and                       :
PAUL F. HOCSHWENDER,                            :
                            Defendants.         :


                                           ORDER

       This 13th day of October, 2015, upon consideration of the Motion to Dismiss by

Defendants Southeast Delco School District, Stephen D. Butz, and Jeffrey Ryan and Plaintiffs’

Response, it is ORDERED that Count III of Plaintiffs’ Complaint is DISMISSED as to

Defendants Butz and the District ONLY. In all other respects, Defendants’ Motion to Dismiss

is DENIED.


                                                         /s/ Gerald Austin McHugh
                                                   United States District Court Judge
